         Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

MICHELE CONNEL                                )
                                              )
                                              )         Case No.
               Plaintiff,                     )
                                              )
v.                                            )
                                              )
BOARD OF COUNTY                               )
COMMISSIONERS OF                              )
LEAVENWORTH COUNTY,                           )
KANSAS                                        )
                                              )
And                                           )
                                              )
JANICE VAN PARYS,                             )
COUNTY TREASURER                              )
                                              )
               Defendants.                    )

                                            COMPLAINT

               Plaintiff Michele Connel, by and through her counsel of record, for her

Complaint, alleges and states as follows:


                                            PARTIES


         1.    Plaintiff Michele Connel (“Plaintiff”) resides in Leavenworth, Leavenworth

County, Kansas.

         2.    Defendant Board of County Commissioners, Leavenworth County, Kansas is a

governmental body located in Leavenworth County, Kansas and may be served with process by

serving Janet Klasinski, Leavenworth County Clerk, 300 Walnut St., Leavenworth, Kansas

66048.




                                                  1
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 2 of 12




       3.      Defendant Janice Van Parys (“Van Parys”) is the Leavenworth County Treasurer,

and this suit is brought against Van Parys both individually and in her capacity as an elected

official. Van Parys may be served individually at the Leavenworth County Treasurer’s Office ,

300 Walnut Street, Suite 105, Leavenworth, Kansas, 66048 and may be served in her official

capacity as Treasurer by service upon Janet Klasinski, County Clerk, 300 Walnut Street, Suite

106, Leavenworth, Kansas, 66048.

                                     NATURE OF ACTION


       4.      Plaintiff is a former employee of Leavenworth County and a whistleblower. She

seeks relief for the retaliation she suffered due to whistleblowing with regard to the terms and

conditions of her employment, as more fully set forth herein.

       5.      Defendants also violated the Fair Labor Standards Act, 29 U.S.C. §201 et seq.

(“FLSA”), by willfully refusing to compensate Plaintiff for all hours worked.

                                    JURISDICTION AND VENUE


       6.      This Court has primary jurisdiction over Plaintiff’s FLSA claims under 28 U.S.C.

§1311 because this claim involves questions of federal law.

       7.      This Court has supplemental jurisdiction over Plaintiff’s related state law claim

because it is part of the same case and controversy as the FLSA claims, arise from the same

nucleus of operative fact, and because exercising supplemental jurisdiction would be in the

interests of judicial economy, convenience, fairness, and comity.

       8.      Venue is proper pursuant to 28 U.S.C. §1391(b) and 29 U.S.C. §1132(e) because

Defendants reside in, and perform business operations in, this District, and because the unlawful

employment practices that form the basis of this action occurred in this District.

                                                 2
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 3 of 12




       9.       Jurisdiction and venue are proper in this Court as it is a court of competent

jurisdiction pursuant to 29 U.S.C.A. § 216(b).

       10.      At all times relevant to this Complaint, Defendant Board of County

Commissioners of Leavenworth County, Kansas has been, and continues to be, an “employer”

engaged in interstate “commerce” and/or in the production of “goods” for “commerce” within

the meaning of the FLSA, 29 U.S.C. §203. Upon information and belief, this defendant has had

operating revenues in excess of $500,000.00.

       11.      Van Parys is an “employer” within the meaning of the FLSA.

                                CONDITIONS PRECEDENT


       12.      As a result of the tortious conduct herein alleged under Kansas law, pursuant to

the Kansas Tort Claims Act, K.S.A. § 75-6104, et seq. (“KTCA”), on February 24, 2020,

Plaintiff timely served a Notice of Claim by certified mail upon the Leavenworth County Clerk,

Janet Klasinski, at 300 Walnut Street, Suite 106, Leavenworth, Kansas, 66048.

       13.      No response to Plaintiff’s Notice of Claim has been received by Plaintiff.

       14.      Plaintiff’s Claim was not approved within 120 days of service of the Notice of

Claim and Plaintiff’s claim is deemed denied under the KTCA.

                                      FACTUAL BASIS


       15.      Plaintiff incorporates the above paragraphs of this Complaint as though fully set

forth herein.

       16.      Plaintiff was hired in September 2018 as a Motor Vehicle Deputy for the

Leavenworth County Treasurer’s Office.




                                                 3
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 4 of 12




       17.     At all times relevant to this Complaint, Plaintiff was supervised by Van Parys.

Van Parys had supervisory authority over Plaintiff and acted on behalf of, and as an agent of,

Leavenworth County, and Van Parys acted in the interest of Leavenworth County, whether

directly or indirectly. At all relevant times, Van Parys possessed the ability to discipline and

otherwise control the terms and conditions of Plaintiff’s employment.

       18.     Throughout Plaintiff’s employment, she regularly worked in excess of 40 hours

per week. Plaintiff consistently worked 42 hours or more per week, including hours worked

during meal breaks, before or after her scheduled shift, and on weekends.

       19.     From September 5, 2018 through September 25, 2019, Plaintiff was paid an

annual salary by Leavenworth County, and she was classified as an “exempt” employee.

       20.     In late September 2019, Leavenworth County changed Plaintiff’s job

classification from an exempt, salaried classification to a non-exempt, hourly classification;

however, neither her job title nor her job duties changed.

       21.     County employees who are classified as “non-exempt” are eligible to receive

overtime pay for hours worked in excess of 40 per week.

       22.     At or near the time of Plaintiff’s reclassification, she met with Van Parys and

complained about the same. Plaintiff expressed her opposition to the reclassification, also asking

Van Parys why she had been reclassified. Van Parys identified budgetary concerns, adding that,

should Plaintiff ever resign or be terminated, the County would not have to compensate Plaintiff

for as many accumulated leave hours as a non-exempt, hourly employee versus a salaried,

exempt employee. Van Parys also stated that Plaintiff did not have the authority to hire and

discipline staff members in her role.



                                                 4
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 5 of 12




       23.     Also during the above conversation between Plaintiff and Van Parys, when

Plaintiff pressed Van Parys with questions about the classification of other employees and

whether particular individuals had been reclassified, Van Parys stated “I’m an elected official

and I can do what I want.”

       24.     Leavenworth County’s written policy, effective January 1, 2018, prohibits

nepotism where a reporting relationship exists or where even the appearance of a conflict of

interest is present. Employees who were hired into positions—prior to January 2018—that

conflict with the policy are exempt from the policy; however, the policy is violated if such an

employee is later moved into another position in conflict with the policy.

       25.     In May 2019, Leavenworth County employee M.D., Van Parys’ daughter-in-law,

was promoted to Assistant Motor Vehicle Deputy. Van Parys subsequently promoted her other

daughter-in-law to Assistant Motor Vehicle Deputy. Van Parys’ sister is also employed by the

Treasurer’s Office.

       26.     On a Monday in mid-December 2019, Plaintiff learned that a sum of cash which

had been in the office safe the previous Friday had been removed from the safe. Based on the

timeline, Plaintiff believed that the cash had been taken during a time when only she and M.D.

were on duty and the safe was open. Plaintiff had not removed any cash from the safe.

       27.     Previously, Plaintiff had expressed her belief to Van Parys that M.D. had been

taking illegal drugs. Van Parys responded, in part, that she would never terminate M.D.’s

employment, stating “what would my grandson do?”

       28.     Shortly after the theft, Van Parys asked Plaintiff whom she believed had taken the

cash. Plaintiff identified M.D., and Van Parys responded with a statement to the effect of “well,

you know drugs make you do weird things.”

                                                5
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 6 of 12




       29.     In or around late December 2019, the Leavenworth Police Department began an

investigation into the stolen cash, and a police detective questioned Plaintiff.       During the

interview, Plaintiff reported: her concerns about nepotism in the County Treasurer’s office, that

M.D. was the only other person on duty with access to the office safe, and that she believed M.D.

was taking illegal drugs. Plaintiff also expressed her fear of losing her job as a result providing

this information, relaying that on multiple occasions, Van Parys had warned her that Van Parys

would not fire Plaintiff unless she ever “went against” Van Parys.

       30.     When Plaintiff returned to work after the Christmas holiday, Van Parys avoided

her and excluded her from work meetings.

       31.     On or about January 7, 2020, Plaintiff’s employment with Leavenworth County

was discharged.

       32.     Van Parys’ notified Plaintiff of her discharge but did not state a reason for the

discharge.



                              COUNT I– Retaliatory Discharge
                                   (Whistleblowing)

       33.     Plaintiff hereby incorporates by reference the above paragraphs of this Complaint

as though fully set forth herein.


       34.     At all times relevant to this Complaint, Plaintiff was an employee of Leavenworth

County.


       35.     Van Parys is subject to the KTCA.




                                                6
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 7 of 12




       36.     As an elected official, Van Parys was in a position of power and leadership, acting

in a manner such that her actions would directly and knowingly impact Plaintiff and the other

employees of Leavenworth County.


       37.     Leavenworth County policy prohibits employee nepotism.


       38.     Leavenworth County policy prohibits illegal drug use by its employees.


       39.     Leavenworth County policy prohibits the taking of county funds by any

employee.


       40.     Theft of property is a criminal offense under Kansas law and specifically K.S.A.

§ 21-3701.


       41.     The state of Kansas has a strong public interest in protecting its citizens against

theft of public funds held by its counties, as well as the employment of illegal drug users in

public employment.


       42.     The state of Kansas has a strong public interest in protecting its citizens against

nepotism in public employment, including the employment of an elected official’s family

members in positions subordinate to the elected official.


       43.     As alleged herein above, Plaintiff made good-faith reports to Van Parys and the

Leavenworth Police Department of violations of rules, regulations, and/or the law pertaining to

public health and safety and the general welfare.


       44.     Plaintiff made such good-faith reports based on her reasonable belief that these

activities were wrongful and due to her concern that said activities were wrongful.

                                                7
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 8 of 12




       45.       A reasonably prudent person would have concluded that Defendants and

Plaintiff’s co-worker were engaged in activities that violated rules, regulations, and/or the law

pertaining to public health and safety and the general welfare.


       46.       Plaintiff reported wrongdoing, serious infractions, and/or violations of law that

were against public policy and injurious to the public and against the public good.


       47.       By such good-faith reports, Plaintiff sought to prevent unlawful and/or improper

conduct through the intervention of a higher authority.


       48.       Prior to Plaintiff’s discharge, Defendants had knowledge that Plaintiff made such

good-faith reports.


       49.       Plaintiff’s good-faith reports were made prior to her discharge and Plaintiff was

discharged in retaliation for making said good-faith reports.


       50.       Plaintiff’s discharge was retaliatory and due to whistleblowing in violation of

public policy.


       51.       As a direct and proximate result of Defendants’ actions, Plaintiff was damaged.


       52.       Plaintiff has been damaged by Defendants’ illegal conduct in that she has suffered

economic damages, including but not limited to past, present, and future lost wages, and she has

suffered noneconomic damages in the form of pain and suffering, including, but not limited to,

humiliation, embarrassment, and mental and emotional distress.




                                                 8
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 9 of 12




        53.     Defendant Van Parys’ actions were malicious and were committed with reckless

indifference to plaintiff's rights protected by Kansas law, thereby entitling plaintiff to punitive

damages.


        WHEREFORE, for those reasons stated hereinabove, Plaintiff Michele Connel prays for

damages against Defendant Board of County Commissioners of Leavenworth County, Kansas in

an amount in excess of $75,000, which is sufficient to compensate her for the injuries and

damages she sustained and for her costs and disbursements incurred herein, and for such other

and further relief as the Court deems just and proper.



                           COUNT II – Failure to Pay Overtime Wages
                               (FLSA - Misclassification)

        54.     Plaintiff hereby incorporates by reference the above paragraphs of this Complaint

as though fully set forth herein.


        55.     The FLSA requires each covered employer, such as Defendants, to compensate all

non-exempt employees for services performed and to compensate them at an overtime rate of

pay for all work performed in excess of forty hours in a work week.


        56.     At all times relevant hereto, Defendants misclassified Plaintiff as an exempt

employee.


        57.     Defendants reclassified Plaintiff as a non-exempt employee in September 2019

but failed to compensate her for pay, including overtime pay, that Plaintiff was owed subsequent

to her reclassification.



                                                 9
      Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 10 of 12




       58.      During her employment with Defendants, Plaintiff performed certain work during

certain hours for the benefit of, and as required by, Defendants for which Plaintiff did not receive

overtime pay, despite that Plaintiff was eligible for and entitled to receive said pay.


       59.      Defendants’ policies and practices denied overtime compensation to Plaintiff and

are in violation of the FLSA.


       60.      The foregoing conduct, as alleged herein, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. §255(a).


       61.      Plaintiff seeks damages in the amount of all respective unpaid overtime

compensation at the appropriate overtime rate of pay for any and all work performed in excess of

forty hours in a work week, plus liquidated damages, as provided by the FLSA, and such other

legal and equitable relief as the Court deems just and proper.


       62.      Plaintiff seeks recovery of all attorneys’ fees, costs, and expenses of this action, to

be paid by Defendants, as provided by the FLSA.


             WHEREFORE, Plaintiff Michele Connel prays for relief against Defendants Board of

County Commissioners of Leavenworth County, Kansas and Janice Van Parys as follows:

       a.       declaratory judgment that the practices complained of herein are unlawful under

the FLSA, 29 U.S.C. §201, et seq.;

       b.       An injunction against Defendants and its officers, agents, successors, employees,

representatives, and any and all persons acting in concert with Defendants, as provided by law,

from engaging in each of the unlawful practices, policies, and patterns set forth herein;



                                                  10
      Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 11 of 12




       c.      An award of damages for overtime compensation due for the Plaintiff, including

liquidated damages, to be paid by Defendants;

       d.      Costs and expenses of this action incurred herein, including reasonable attorneys’

fees and expert fees;

       e.      Pre-judgment and post-judgment interest, as provided by law; and

       f.      Any and all such other and further legal and equitable relief as this Court deems

necessary, just and proper.

                               COUNT III - FLSA Retaliation

       63.     Plaintiff hereby restates and incorporates the above paragraphs of this Complaint

as though fully set forth herein.

       64.     As alleged herein, Plaintiff complained to Defendants about her FLSA

reclassification, as well as Leavenworth County pay practices as applied to her reclassification in

that her pay classification changed from salaried to hourly; Plaintiff expressed her disagreement

with the reclassification that gave rise to her FLSA misclassification claim alleged herein.

       65.     Plaintiff engaged in protected activity under the FLSA.

       66.     Plaintiff suffered adverse employment actions, including her discharge from

employment.

       67.     Defendants discriminated against Plaintiff with respect to the compensation,

terms, conditions and privileges of her employment, including discharge, on the basis of

Plaintiff’s engagement in protected activity.

       68.     As a result of Defendants’ actions, Plaintiff has suffered damages.

       69.     Plaintiff has been damaged by Defendants’ illegal conduct in that she has suffered

economic damages, as well as mental and emotional distress.

                                                11
       Case 2:20-cv-02348-SAC-TJJ Document 1 Filed 07/14/20 Page 12 of 12




        70.     Plaintiff is entitled to liquidated damages, costs, reasonable attorneys’ fees, and

all other statutory remedies available pursuant to U.S.C. 29 §216(b).

        WHEREFORE, Plaintiff Michele Connel prays for judgment against Defendants Board

of County Commissioners of Leavenworth County, Kansas and Janice Van Parys for her

damages in an amount in excess of $75,000 that is fair and reasonable, including but not limited

to, lost wages, fringe benefits, costs and attorneys’ fees, noneconomic damages in the form of

mental and emotional distress, any further statutory and/or equitable relief available pursuant to

the FLSA, and any other relief the Court deems just, proper, and equitable.



                                DEMAND FOR JURY TRIAL


        Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which Plaintiff has a right to jury trial.


                            DESIGNATION OF PLACE OF TRIAL


        Plaintiff hereby designates Kansas City, Kansas as the place of trial in this case.


                                                      Respectfully submitted,

                                                  By: /s/Michael Stipetich
                                                     Michael Stipetich Kansas No. 21453
                                                     Smith Mohlman Injury Law, LLC
                                                     701 E. 63rd Street, 3rd Floor
                                                     Kansas City, MO 64110
                                                     816.866.7711(office)
                                                     816.866.7715(fax)
                                                     stip@accidentlawkc.com

                                                      ATTORNEYS FOR PLAINTIFF



                                                 12
